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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
       Plaintiff,                   §               Case No: 2:16-cv-1261-RWS
                                    §
vs.                                 §               LEAD CASE
                                    §
BEACHBODY, LLC                      §
                                    §
       Defendant.                   §
___________________________________ §
ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
       Plaintiff,                   §               Case No: 2:16-cv-1266-RWS
                                    §
vs.                                 §               CONSOLIDATED CASE
                                    §
ABC, INC.                           §
                                    §
     .
       Defendant.                   §
___________________________________ §

                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Broadcast Distribution Systems,

LLC’s motion to dismiss without prejudice Defendant pursuant to Fed. R. Civ. P. 41(a).

       Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant ABC, Inc. are

dismissed without prejudice with each party to bear its own fees and costs.

SO ORDERED.

        SIGNED this 6th day of April, 2017.



                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
